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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )              Case No. 1:19-cv-02519
              v.                        )
                                        )              Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )              Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)

                                         VOLUNTARY DISMISSAL

         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned counsel for

Plaintiff, General Tools & Instruments, LLC, hereby notifies this Court that the Plaintiff voluntarily dismisses

with prejudice any and all claims against the following defendants:

 Doe #     Seller Name                     Seller ID                      Def. E-mail
    110 LTZFTL tool Store                  1626734                        liugift@163.com
    117 All Bestselling Store              1758745                        w5330765@163.com
    195 Ali-House Improvement Store                             2785249 zthdmsmt33@163.com
    196 Ali-HTI Store                                           2786236 gmtzy657@163.com
    256 Ali-Jew Lighting Store                                  2960191 vkie71157@163.com
        First Chioce House Inprovement
    271 Store                                                   3009063 vum9326535@126.com
    288 Ali Improvement Store                                   3168027 carw62861gzw@126.com
    292 Iraq Code Store                    3192067                        qbqpg3164@163.com
    293 Trendy Store Store                 3193015                        wasting23yu@sina.com
    297 Tool Light Market Store            3198041                        tiolwni5@163.com

    311 Decoration Zone Store              3222154                        xlps91097@163.com
    328 High Five Store                    3386009                        daoyangua23@163.com
    347 ZT-HomeImprovement Store           3582004                        m18005697548@163.com
    369 Ali LikeLighting Store             3729004                        jqigmtfdqdmd04@163.com
    381 Qualified Tools Store              3874063                        yaopo67416@163.com
    390 room&decoration Store              3908032                        ganwen67617@163.com
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Doe # Seller Name                 Seller ID                 Def. E-mail
 518 JBT Global                   A15OHP9BLTA4V7            Johnny@jbtgroup.eu

 535 Omont                        A1JX8BUSMUAXJP            cooperqian235@yahoo.com
 593 Lavin Thesse                 A5YJAG6ZL8DHS             ivan.panin.amazon@gmail.com
 601 JulzzStore                   ADXZPYQZM3RG5             dsk.jully1992@gmail.com

 615 ShenZhouUS                   AXGWIH514HT88             usspectrum@outlook.com
 665 autumn-weather               autumn-weather            aamf41798@163.com
 672 beautylady365                beautylady365             auction.cs75@pzwgecommerce.com

 724 dealsgoing                   dealsgoing                auction.cs32@szecommerce.com
 747 e-suggestion                 e-suggestion              u3ub3vgmu2fh@163.com
 755 electronic-pilot             electronic-pilot          pwzm8191@126.com

 776 fashionf2018                 fashionf2018              auction.csales8@perfeclan.com
 778 fat-mango                    fat-mango                 fatmango925@126.com
 785 fjirev665-2                  fjirev665-2               fjirev665@163.com
 796 gardensupplies_online17      gardensupplies_online17   auction.cs115@baoblaze.com
 809 greenteatime2016             greenteatime2016          greenteatime@126.com
 853 intertradego                 intertradego              auction.cs33@szecommerce.com

 859 jewelry-base                 jewelry-base              jewelrybase365@126.com
 863 jhz9159005-3                 jhz9159005-3              jhz9159005@126.com
 868 jindia                       jindia                    auction.cs60@blesiya.com
 874 jsbay88                      jsbay88                   auction_cs16@suntekstore.co.uk
 890 kwongyuenelectronics         kwongyuenelectronics      tixi3982@126.com
 931 moon_city2000                moon_city2000             zhangxian899@gmail.com

 934 motortradeonline             motortradeonline          auction.cs39@szecommerce.com
 939 new-star2018                 new-star2018              ulyssesi80329@gmail.com
 950 nvj5865684-4                 nvj5865684-4              nvj5865684@126.com

 958 only_just                    only_just                 coukuang5110517@163.com
 962 paska2016                    paska2016                 auction.cs001@hotmail.com
 965 peoplestechnology            peoplestechnology         blzw078263@126.com
 966 picturesque-landscape        picturesque-landscape     jst6758@163.com
 977 pxna_86                      pxna_86                   pxnaxyxn@gmail.com
 997 saih.tan                     saih.tan                  tletga56881@163.com
                                                 2
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Doe # Seller Name                 Seller ID                  Def. E-mail
1006 sex-plaza2014                sex-plaza2014              sexplaza365@126.com

1027 silentmusic16                silentmusic16              hhbx1721732@126.com
1029 simplehomeline               simplehomeline             noxc1871@126.com
1081 trail-blazer21               trail-blazer21             blgbnvl9431458002@163.com

1083 trs-seller2012               trs-seller2012             trsseller365@126.com
1097 vesny89735-6                 vesny89735-6               vesny89735@126.com
1168 shanghaihqtechnologycoltd    53a701ed46188e14297b15fc   tony_wishstore@126.com

1210 themoneyatonceno2            5477d6a99719cd0a92b8fb4c   luzhongjiewish@126.com
1255 anglesky                     5567075e548f7b3215910853   gkan57131@126.com
1259 shanghaidunsenstore          557c42a6593a91223b7d542a   wish_sen@126.com

1289 supermarketstores            55de8ada8f893328d93319b0   mouzhiping_0827@sina.com
1315 lovehome99                   561dea88782fdc0f35ca5f27   fxfttmlkf68918@126.com
1326 amazingtradingstore          563d9d6cc8274557fa3fd035   p3581698@163.com
1343 exhibitionofxiang            566942d72a5281269b0287df   lapcspklgn74@163.com
1369 magictomson                  56cad35b1e15ff0d59e1b4c7   tomsonz@qq.com
1370 magictttt                    56cbfd6008b5e01392d1cba9   wishtomsonzhang@outlook.com

1378 unexpectedsurprise           56dea92284eda616b083175e   mfukaiy90@163.com
1386 gymboreehoney                56fb7f4d5cbb5a55bfd416e9   yzg81277@126.com
1391 qiaoqiao                     57065da03a698c0c37998880   wishqiaoqiao@sina.com
1396 lovelifemore                 570f6859ef4f0d64c60bc296   lovelifemore99@sina.com
1400 lucky11                      5718cf21f24dd9591acc9400   2238181856@qq.com
1401 gardanely                    5719eee27f01ca7394df006e   ljsc4976224565@126.com

1454 niuqiaobing22                578cc7584d66920c65d29279   yrkv52@163.com
1462 dtyygg                       579f254db2ea3e0f535ea73f   xmoh63@163.com
1465 bumintechnology              57a1bbb4b44e4d0f5551b979   owor02@163.com

1466 happy8056                    57a1d769ffd2810f3a168897   uzom59@163.com
1565 lijiajun                     5850fffae7881151aa24a343   cvj451@163.com
1571 beatable                     5854f0e1810891037db16969   cwu720@163.com
1576 shenwenhui                   58591b0b81089132385db673 lxtoln@163.com
1592 videdress                    586f5959faf72a517ae93acb   orangewu.90@gmail.com
1608 mashuyuan                    589aa6ebd9e1c44f5045e8ce   201717th@sina.com
                                                   3
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  Doe # Seller Name                 Seller ID                   Def. E-mail
  1609 xuliheng2017                 589c3caefecdb94ffe8a3d22    haihaoxiansheng@qq.com

  1676 dulang                       58ca66c23a8bc86f5fcaffa0    rdr34106194@163.com
  1679 wendybeautiful               58cb94fd11f4365058e985e1    wendybeautiful@163.com
  1705 lionmouse                    58da49c92c3a8f52a755d4a0    frienogether666@163.com

  1724 dfsfsbdfndf                  58e896048cdaab164d4e1388    yizong1711629@163.com
  1726 chenchanghong                58e9d6bef42172325cdd6fc2    uzr0620507@126.com
  1738 fashioncharmshow             58f0dacf759eb6040601ae77    2062226159@qq.com

  1750 wukaixuan                    58f9bd48eb47192c8c94fab6    lkk8421711@126.com
  1769 amazing4u                    590c3f539e52ea57f0db1fbe    13524646385@163.com
  1791 lingzixiaopu                 591d49ba1d7eca508e56bba1    fdw4018509@126.com

  1864 universaltechnology          59687a98c25081301aceaf05    yim378_ing@163.com
  1875 binn                         5977f7112f46ab42c15ecf25    wulaopo@163.com
  1876 24hwatches                   597898d40ec30f2940588919    zhangcanyuwss11@yil5.com
  1907 huiminxiaodian               59b344f730e1f36b2581cb8d    1977790556@qq.com
  1968 songking                     5a1fe7ba68788b2d66e8ac66    3586456083@qq.com
  1972 songsong888                  5a2bb550db0e4233e96c1d77    408974149@qq.com

  2021 xdx888                       5ac1fe37db5f1f2ef3aa018d    2470008742@qq.com

Dated: September 20, 2019
                                                                 Respectfully submitted,

                                                                    By:       /s/ Rishi Nair

                                                                               Rishi Nair
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                                                                         Kevin J. Keener
                                                                        ARDC #6296898
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                                                              kevin.keener@keenerlegal.




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